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                                                      61
 Fill in this information to identify the case:

 Debtor name                           Earth Energy Renewables, LLC

 United States Bankruptcy Court for the:
                                   Western District of Texas

 Case number (if known):                 20-51780
                                                                                                                                          ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑No. Go to Part 2.
       ✔Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor's
                                                                                                                                              interest

  2.   Cash on hand                                                                                                                                                $74.32

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                Type of account                      Last 4 digits of account number
       3.1 ABC Unit Transfer Account                                    Checking account                            0871                                         $295.64

       Additional Page Total - See continuation page for additional entries                                                                               ($80,263.36)

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                              ($79,893.40)
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ❑No. Go to Part 3.
       ✔Yes. Fill in the information below.
       ❑
                                                                                                                                              Current value of debtor's
                                                                                                                                              interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       7.1 Brazos Electric                                                                                                                                       $7,810.58




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                              page 1
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Debtor        Earth Energy Renewables, LLC                                                                              Case number (if known)            20-51780
              Name


  8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

         None


  9.     Total of Part 2
                                                                                                                                                                $7,810.58
         Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10.     Does the debtor have any accounts receivable?
          ✔ No. Go to Part 4.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                                                 Current value of debtor's
                                                                                                                                                 interest

  11.    Accounts Receivable

         11a. 90 days old or less:                                           -                                            = ...... ➔
                                       face amount                                 doubtful or uncollectible accounts



         11b. Over 90 days old:                                              -                                            = ...... ➔
                                       face amount                                 doubtful or uncollectible accounts


  12.    Total of Part 3
                                                                                                                                                                     $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13.     Does the debtor own any investments?
          ✔ No. Go to Part 5.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                  Valuation method used for      Current value of debtor's
                                                                                                                  current value                  interest

  14.     Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

          None


  15.    Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture
          Name of fund or stock:                                                           % of ownership:

          None


  16.    Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1
          Describe:

Official Form 106A/B                                                                  Schedule A/B: Property                                                    page 2
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         None


  17.    Total of Part 4
                                                                                                                                                             $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18.    Does the debtor own any inventory (excluding agriculture assets)?
         ✔ No. Go to Part 6.
         ❑
         ❑Yes. Fill in the information below.

         General description                                    Date of the last          Net book value of   Valuation method used      Current value of debtor's
                                                                physical inventory        debtor's interest   for current value          interest
                                                                                          (Where available)


  19.    Raw materials

         None

  20.    Work in progress

         None

  21.    Finished goods, including goods held for resale

         None

  22.    Other inventory or supplies

         None

  23.    Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                               $0.00


  24.    Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑Yes
  25.    Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  26.    Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27.    Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑Yes. Fill in the information below.


Official Form 106A/B                                                              Schedule A/B: Property                                                page 3
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             Name



         General description                                                          Net book value of       Valuation method used      Current value of debtor's
                                                                                      debtor's interest       for current value          interest
                                                                                          (Where available)


  28.    Crops — either planted or harvested

         None


  29.    Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30.    Farm machinery and equipment (Other than titled motor vehicles)

         None

  31.    Farm and fishing supplies, chemicals, and feed

         None


  32.    Other farming and fishing-related property not already listed in Part 6

         None

  33.    Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                                 $0.00


  34.    Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes

  35.    Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  36.    Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑Yes
  37.    Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38.    Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑No. Go to Part 8.
         ✔Yes. Fill in the information below.
         ❑



Official Form 106A/B                                                           Schedule A/B: Property                                                   page 4
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             Name



         General description                                                               Net book value of      Valuation method used      Current value of debtor's
                                                                                           debtor's interest      for current value          interest
                                                                                           (Where available)


  39.    Office furniture

         None


  40.    Office fixtures

         None


  41.    Office equipment, including all computer equipment and
         communication systems equipment and software

         41.1 16X Commercial Plant equipment                                                          $6,051.00   Estimate-book value                       $3,025.50
                                                                                                                  reflects cost


         Additional Page Total - See continuation page for additional entries                                                                             $408,175.25

  42.    Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles


         None


  43.    Total of Part 7
                                                                                                                                                          $411,200.75
         Add lines 39 through 42. Copy the total to line 86.

  44.    Is a depreciation schedule available for any of the property listed in Part 7?
         ❑No
         ✔Yes
         ❑
  45.    Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 8: Machinery, equipment, and vehicles


  46.    Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑No. Go to Part 9.
         ✔Yes. Fill in the information below.
         ❑
         General description                                                               Net book value of      Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or         debtor's interest      for current value          interest
         N-number)                                                                         (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


         47.1 2004 Chevrolet Silverado                                                                    $0.00                                             $2,500.00




Official Form 106A/B                                                               Schedule A/B: Property                                                   page 5
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  48.    Watercraft, trailers, motors, and related accessories Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels


         None


  49. Aircraft and accessories

         None


  50.    Other machinery, fixtures, and equipment (excluding farm machinery
         and equipment)

         None


  51.    Total of Part 8
                                                                                                                                                              $2,500.00
         Add lines 47 through 50. Copy the total to line 87.

  52.    Is a depreciation schedule available for any of the property listed in Part 8?
         ❑No
         ✔Yes
         ❑

  53.    Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 9: Real Property


  54.    Does the debtor own or lease any real property?
         ❑No. Go to Part 10.
         ✔Yes. Fill in the information below.
         ❑

         General description                                    Nature and extent of      Net book value of        Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in      debtor's interest        for current value           interest
         Assessor Parcel Number (APN), and type of property     property                  (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         55.1 Real Estate                                        Fee Simple                        (Unknown)        Brazos CAD                              $392,745.00


  56.    Total of Part 9
                                                                                                                                                            $392,745.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.

  57.    Is a depreciation schedule available for any of the property listed in Part 9?
         ❑No
         ✔Yes
         ❑
  58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes

Official Form 106A/B                                                              Schedule A/B: Property                                                      page 6
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Debtor        Earth Energy Renewables, LLC                                                                         Case number (if known)            20-51780
             Name




 Part 10: Intangibles and Intellectual Property


  59.    Does the debtor have any interests in intangibles or intellectual property?
         ❑No. Go to Part 11.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                           Net book value of       Valuation method used        Current value of debtor's
                                                                                       debtor's interest       for current value            interest
                                                                                       (Where available)


  60.    Patents, copyrights, trademarks, and trade secrets

         60.1 Serial number 14/135,044 Issued as US Patent #10,662,447                         (Unknown)                                                 (Unknown)



         Additional Page Total - See continuation page for additional entries                                                                         $50,000,000.00

  61.    Internet domain names and websites

         None


  62.    Licenses, franchises, and royalties

         None

  63.    Customer lists, mailing lists, or other compilations

         None


  64.    Other intangibles, or intellectual property

         None

  65.    Goodwill

         None


  66.    Total of Part 10
                                                                                                                                                      $50,000,000.00
         Add lines 60 through 65. Copy the total to line 89.

  67.    Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑Yes
  68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑Yes
  69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 11: All other assets


Official Form 106A/B                                                            Schedule A/B: Property                                                     page 7
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             Name



  70.    Does the debtor own any other assets that have not yet been reported on this form?
         ❑No. Go to Part 12.
         ✔Yes. Fill in the information below.
         ❑

                                                                                                                                     Current value of debtor's
                                                                                                                                     interest

  71.    Notes receivable
         Description (include name of obligor)

         None


  72.    Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73.    Interests in insurance policies or annuities

         73.1 Indian Harbor Ins. Co. General Liability Policy                                                                                            $1.00


         Additional Page Total - See continuation page for additional entries                                                                            $3.00

  74.    Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims

         None


  76.    Trusts, equitable or future interests in property

         None


  77.    Other property of any kind not already listed Examples: Season tickets,
         country club membership

         None


  78.    Total of Part 11
                                                                                                                                                         $4.00
         Add lines 71 through 77. Copy the total to line 90.

  79.    Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes




Official Form 106A/B                                                            Schedule A/B: Property                                              page 8
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Debtor         Earth Energy Renewables, LLC                                                                                                      Case number (if known)             20-51780
              Name



 Part 12: Summary


         Type of property                                                                            Current value of                                Current value
                                                                                                     personal property                               of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                              ($79,893.40)

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                    $7,810.58

  82. Accounts receivable. Copy line 12, Part 3.                                                                            $0.00

  83. Investments. Copy line 17, Part 4.                                                                                    $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                      $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                             $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy line
      43, Part 7.                                                                                                     $411,200.75

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                         $2,500.00


                                                                                                                                          ➔                           $392,745.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $50,000,000.00

  90. All other assets. Copy line 78, Part 11.                                                  +                           $4.00



  91. Total. Add lines 80 through 90 for each column......                                  91a.                 $50,341,621.93         + 91b.                        $392,745.00



                                                                                                                                                                                       $50,734,366.93
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                            Schedule A/B: Assets — Real and Personal Property                                                      page 9
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           Additional Page


         All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor's
                                                                                                                                      interest

  3.     Checking, savings, money market, or financial brokerage accounts - Continued
         Name of institution (bank or brokerage firm)            Type of account                  Last 4 digits of account number
         3.2 ABC Operating Account                                    Checking account                        0863                                ($80,301.63)

         3.3 IBC Bank                                                 Checking account                        3513                                     $38.27


         General description                                                       Net book value of      Valuation method used       Current value of debtor's
                                                                                   debtor's interest      for current value           interest
                                                                                   (Where available)

  41. Office equipment - Continued
                                                                                                            Estimate-book value
         41.2 Furniture and Equipment                                                         $3,825.00     reflects cost                            $1,500.00

                                                                                                            Estimate-book value
         41.3 Lab Equipment                                                                 $554,697.00     reflects cost                          $100,000.00

                                                                                                            Estimate-book value
         41.4 Total Pilot Production Equipment                                            $2,011,168.00     reflects cost                          $301,675.25

         41.5 Fork Lift - Ingersol Rand                                                     (Unknown)       Estimate                                 $5,000.00

         General description                                                       Net book value of      Valuation method used       Current value of debtor's
                                                                                   debtor's interest      for current value           interest
                                                                                   (Where available)

  60. Patents, copyrights, trademarks, and trade secrets - Continued

         60.2 Patent application G                                                          (Unknown)                                              (Unknown)

         60.3 Patent application H - Nonpublication request                                 (Unknown)                                              (Unknown)

         60.4 Patent application I - Nonpublication request                                 (Unknown)                                              (Unknown)

         60.5 Provisional Patent A                                                          (Unknown)                                              (Unknown)

         60.6 Provisional Patent B                                                          (Unknown)                                              (Unknown)

         60.7 Provisional Patent C                                                          (Unknown)                                              (Unknown)

         60.8 Provisional Patent D                                                          (Unknown)                                              (Unknown)

         60.9 Provisional Patent E                                                          (Unknown)                                              (Unknown)

         60.10 Provisional Patent F                                                         (Unknown)                                              (Unknown)

         60.11 Technology design package for 16X plant                                      $222,583.00                                            (Unknown)

               Estimated value of all intellectual property, including
         60.12 patents and design technology                                             $16,000,000.00     Estimate                            $50,000,000.00


                                                                                                                                      Current value of debtor's
                                                                                                                                      interest

  73. Interests in insurance policies or annuities - Continued
         73.2 Mercury County Mutual Ins. Co. - Auto                                                                                                       $1.00

         73.3 Texas Mutual Ins. Co. - Workers Comp.                                                                                                       $1.00

         73.4 Lloyd's of London - Property and Personal Property                                                                                          $1.00


Official Form 106A/B                                                         Schedule A/B: Property                                                 page 10
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                                                       61
 Fill in this information to identify the case:

 Debtor name                             Earth Energy Renewables, LLC

 United States Bankruptcy Court for the:
                                     Western District of Texas

 Case number (if known):                     20-51780
                                                                                                                                            ❑Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ❑No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim,     Column A                   Column B
        list the creditor separately for each claim.
                                                                                                                             Amount of claim            Value of collateral
                                                                                                                             Do not deduct the          that supports this
                                                                                                                             value of collateral.       claim

2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien               $2,852,491.00                $50,000,000.00
    ARA EER Holdings, LLC                                        Estimated value of all intellectual property, including
                                                                 patents and design technology
        Creditor's mailing address
                                                                 Serial number 14/135,044 Issued as US Patent
        5300 Memorial Dr. Ste. 500                               #10,662,447
         Houston, TX 77077                                       Describe the lien
        Creditor's email address, if known                       Intellectual property
                                                                 Is the creditor an insider or related party?
        Date debt was incurred          1/13/2020
                                                                 ❑✔ No
        Last 4 digits of account
                                                                 ❑Yes.
        number                                             Is anyone else liable on this claim?
                                                            ✔
        Do multiple creditors have an interest in the same ❑ No
        property?                                          ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        ❑No.                                                     As of the petition filing date, the claim is:
        ✔Yes. Specify each creditor, including this creditor,
        ❑                                                        Check all that apply.
                                                                 ❑Contingent
                and its relative priority.
                                                                 ✔ Unliquidated
                                                                 ❑
                For Asset: Estimated value of all
                intellectual property, including patents
                                                                 ❑Disputed
                and design technology
                1) ARA EER Holdings, LLC
                2) Cobb, John Spencer
                3) Nalle, Alan


 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.                                                                                                               $3,801,182.16




Official Form 206D                                          Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 13
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           Name

                                                                                                                            Column A                Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim         Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the       that supports this
 page.                                                                                                                      value of collateral.    claim

2.2 Creditor’s name                                           Describe debtor’s property that is subject to a lien                      $9,643.70            $806,445.75
    Brazos County                                             2004 Chevrolet Silverado
                                                              Fork Lift - Ingersol Rand
     Creditor's mailing address
                                                              Furniture and Equipment
      Kristeen Roe, Tax A/c
                                                              Real Estate
      4151 County Park Ct
                                                              6150 Mumford Rd Bryan, TX 77807-2455
      Bryan, TX 77802                                         Lab Equipment
     Creditor's email address, if known                       See continuation page.

                                                              Describe the lien
     Date debt was incurred
     Last 4 digits of account
                                                              Is the creditor an insider or related party?
     number
                                                              ❑✔ No
     Do multiple creditors have an interest in the same
     property?
                                                              ❑Yes.
     ❑No.                                                     Is anyone else liable on this claim?
                                                               ✔ No
     ✔Yes. Have you already specified the relative            ❑
     ❑                                                        ❑Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             priority?
                                                              As of the petition filing date, the claim is:
         For Asset:
                                                              Check all that apply.
                                                              ❑Contingent
         2004 Chevrolet Silverado
          ✔ No. Specify each creditor, including this
          ❑                                                   ❑Unliquidated
                  creditor, and its relative priority.
                                                              ❑Disputed
          ❑Yes. The relative priority of creditors is
                  specified on lines
         For Asset:
         Fork Lift - Ingersol Rand
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Cobb, John Spencer
                  2) Nalle, Alan
                  3) Brazos County

          ❑Yes. The relative priority of creditors is
                  specified on lines

         For Asset:
         Furniture and Equipment
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Cobb, John Spencer
                  2) Nalle, Alan
                  3) Brazos County

          ❑Yes. The relative priority of creditors is
                  specified on lines




Official Form 206D                                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 13
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Debtor      Earth Energy Renewables, LLC                                                                      Case number (if known)          20-51780
           Name

                                                                                                                     Column A               Column B
 Part 1: Additional Page
                                                                                                                     Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous            Do not deduct the      that supports this
 page.                                                                                                               value of collateral.   claim

         For Asset:
         Real Estate
         6150 Mumford Rd Bryan, TX 77807-2455
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
                  3) Brazos County

          ❑Yes. The relative priority of creditors is
                  specified on lines

         For Asset:
         Lab Equipment
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Cobb, John Spencer
                  2) Nalle, Alan
                  3) Brazos County

          ❑Yes. The relative priority of creditors is
                  specified on lines

         For Asset:
         Total Pilot Production Equipment
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.

          ❑Yes. The relative priority of creditors is
                  specified on lines

         For Asset:
         16X Commercial Plant equipment
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.

          ❑Yes. The relative priority of creditors is
                  specified on lines




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                                                    61
Debtor      Earth Energy Renewables, LLC                                                                             Case number (if known)          20-51780
           Name

                                                                                                                            Column A               Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the      that supports this
 page.                                                                                                                      value of collateral.   claim

2.3 Creditor’s name                                           Describe debtor’s property that is subject to a lien                   $250,000.00         $50,400,555.58
    Cobb, John Spencer                                        Provisional Patent E
                                                              Provisional Patent F
     Creditor's mailing address                               Provisional Patent A
      10904 Enchanted Rock Cv                                 Provisional Patent D
      Austin, TX 78726-1336                                   Provisional Patent B

     Creditor's email address, if known                       See continuation page.

                                                              Describe the lien
                                                              Security Agreement and Deed of Trust
     Date debt was incurred           1/24/2017
                                                              Is the creditor an insider or related party?
     Last 4 digits of account
     number
                                                              ❑✔ No
                                                        ❑Yes.
     Do multiple creditors have an interest in the same
     property?                                          Is anyone else liable on this claim?
     ❑No.                                               ❑No
                                                        ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     ✔Yes. Have you already specified the relative
     ❑
            priority?                                   As of the petition filing date, the claim is:
                                                        Check all that apply.
         For Asset:                                     ❑Contingent
         Provisional Patent E                           ❑Unliquidated
         ✔ No. Specify each creditor, including this
         ❑                                              ❑Disputed
                creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
          ❑Yes. The relative priority of creditors is
                specified on lines

         For Asset:
         Provisional Patent F
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Provisional Patent A
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
          ❑Yes. The relative priority of creditors is
                  specified on lines




Official Form 206D                                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 13
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                                                    61
Debtor      Earth Energy Renewables, LLC                                                                      Case number (if known)          20-51780
           Name

                                                                                                                     Column A               Column B
 Part 1: Additional Page
                                                                                                                     Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous            Do not deduct the      that supports this
 page.                                                                                                               value of collateral.   claim

         For Asset:
         Provisional Patent D
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Provisional Patent B
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Provisional Patent C
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Real Estate
         6150 Mumford Rd Bryan, TX 77807-2455
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.2


         For Asset:
         Patent application H - Nonpublication request
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
          ❑Yes. The relative priority of creditors is
                  specified on lines




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                                                    61
Debtor      Earth Energy Renewables, LLC                                                                      Case number (if known)          20-51780
           Name

                                                                                                                     Column A               Column B
 Part 1: Additional Page
                                                                                                                     Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous            Do not deduct the      that supports this
 page.                                                                                                               value of collateral.   claim

         For Asset:
         Patent application I - Nonpublication request
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
          ❑Yes. The relative priority of creditors is
                  specified on lines



         For Asset:
         Patent application G
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Brazos Electric
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Cobb, John Spencer
                  2) Nalle, Alan
          ❑Yes. The relative priority of creditors is
                  specified on lines


         For Asset:
         Estimated value of all intellectual property,
         including patents and design technology
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.1



         For Asset:
         Technology design package for 16X plant
          ✔ No. Specify each creditor, including this
          ❑
                  creditor, and its relative priority.
                  1) Nalle, Alan
                  2) Cobb, John Spencer
          ❑Yes. The relative priority of creditors is
                  specified on lines

     Remarks: Lien has equal priority with lien of Alan Nalle




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                                                    61
Debtor      Earth Energy Renewables, LLC                                                                             Case number (if known)          20-51780
           Name

                                                                                                                            Column A               Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the      that supports this
 page.                                                                                                                      value of collateral.   claim

2.4 Creditor’s name                                           Describe debtor’s property that is subject to a lien                   $207,023.73            $106,500.00
    Cobb, John Spencer                                        Furniture and Equipment
                                                              Lab Equipment
     Creditor's mailing address                               Fork Lift - Ingersol Rand
      10904 Enchanted Rock Cv
                                                              Describe the lien
      Austin, TX 78726-1336
                                                              Security Agreement and UCC-1
     Creditor's email address, if known
                                                              Is the creditor an insider or related party?
                                                              ❑✔ No
     Date debt was incurred           6/29/2015               ❑Yes.
     Last 4 digits of account                                 Is anyone else liable on this claim?
     number                                                   ❑No
                                                              ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in the same
     property?                                          As of the petition filing date, the claim is:
     ❑No.                                               Check all that apply.
                                                        ❑Contingent
     ✔Yes. Have you already specified the relative
     ❑                                                  ❑Unliquidated
            priority?                                   ❑Disputed
         For Asset:
         Furniture and Equipment
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.2

         For Asset:
         Lab Equipment
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.2


         For Asset:
         Fork Lift - Ingersol Rand
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.2


     Remarks: Assignee of ELF; lien has equal priority with lien of Alan Nalle




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                                                    61
Debtor      Earth Energy Renewables, LLC                                                                             Case number (if known)          20-51780
           Name

                                                                                                                            Column A               Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the      that supports this
 page.                                                                                                                      value of collateral.   claim

2.5 Creditor’s name                                           Describe debtor’s property that is subject to a lien                   $275,000.00         $50,400,555.58
    Nalle, Alan                                               Provisional Patent E
                                                              Provisional Patent A
     Creditor's mailing address                               Provisional Patent C
      54 Sundown Parkway                                      Patent application H - Nonpublication request
      Austin, TX 78746                                        Patent application G

     Creditor's email address, if known                       See continuation page.

                                                              Describe the lien
                                                              Security Agreement and Deed of Trust
     Date debt was incurred January 24, 2017
                                                              Is the creditor an insider or related party?
     Last 4 digits of account
     number
                                                              ❑✔ No
                                                        ❑Yes.
     Do multiple creditors have an interest in the same
     property?                                          Is anyone else liable on this claim?
     ❑No.                                               ❑No
                                                        ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     ✔Yes. Have you already specified the relative
     ❑
            priority?                                   As of the petition filing date, the claim is:
                                                        Check all that apply.
         For Asset:                                     ❑✔ Contingent
         Provisional Patent E                           ❑Unliquidated
         ❑No. Specify each creditor, including this     ❑Disputed
                creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3

         For Asset:
         Provisional Patent A
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3



         For Asset:
         Provisional Patent C
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Patent application H - Nonpublication request
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3




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                                                    61
Debtor      Earth Energy Renewables, LLC                                                                      Case number (if known)          20-51780
           Name

                                                                                                                     Column A               Column B
 Part 1: Additional Page
                                                                                                                     Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous            Do not deduct the      that supports this
 page.                                                                                                               value of collateral.   claim

         For Asset:
         Patent application G
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Patent application I - Nonpublication request
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3



         For Asset:
         Provisional Patent F
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Provisional Patent D
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Provisional Patent B
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


         For Asset:
         Real Estate
         6150 Mumford Rd Bryan, TX 77807-2455
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.2


         For Asset:
         Brazos Electric
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3




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                                                    61
Debtor      Earth Energy Renewables, LLC                                                                             Case number (if known)          20-51780
           Name

                                                                                                                            Column A               Column B
 Part 1: Additional Page
                                                                                                                            Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous                   Do not deduct the      that supports this
 page.                                                                                                                      value of collateral.   claim

         For Asset:
         Estimated value of all intellectual property,
         including patents and design technology
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.1



         For Asset:
         Technology design package for 16X plant
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.3


     Remarks: Lien has equal priority with lien of John Spencer Cobb



2.6 Creditor’s name                                           Describe debtor’s property that is subject to a lien                   $207,023.73            $106,500.00
    Nalle, Alan                                               Furniture and Equipment
                                                              Lab Equipment
     Creditor's mailing address                               Fork Lift - Ingersol Rand
      54 Sundown Parkway
                                                              Describe the lien
      Austin, TX 78746
                                                              Security Agreement and UCC-1
     Creditor's email address, if known
                                                              Is the creditor an insider or related party?
                                                              ❑✔ No
     Date debt was incurred           6/29/2015               ❑Yes.
     Last 4 digits of account                                 Is anyone else liable on this claim?
     number                                                   ❑No
                                                              ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest in the same
     property?                                          As of the petition filing date, the claim is:
     ❑No.                                               Check all that apply.
                                                        ❑Contingent
     ✔Yes. Have you already specified the relative
     ❑                                                  ❑Unliquidated
            priority?                                   ❑Disputed
         For Asset:
         Furniture and Equipment
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.2

         For Asset:
         Lab Equipment
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.2




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                                                    61
Debtor      Earth Energy Renewables, LLC                                                                      Case number (if known)          20-51780
           Name

                                                                                                                     Column A               Column B
 Part 1: Additional Page
                                                                                                                     Amount of claim        Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous            Do not deduct the      that supports this
 page.                                                                                                               value of collateral.   claim

         For Asset:
         Fork Lift - Ingersol Rand
          ❑No. Specify each creditor, including this
                  creditor, and its relative priority.
          ✔Yes. The relative priority of creditors is
          ❑
                  specified on lines        2.2


     Remarks: Assignee of ELF; lien has equal priority with lien of John Spencer Cobb




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                                                    61
Debtor      Earth Energy Renewables, LLC                                                                        Case number (if known)               20-51780
           Name
 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                         On which line in Part 1      Last 4 digits of
                                                                                                              did you enter the related    account number for
                                                                                                              creditor?                    this entity

     Foley & Lardner                                                                                          Line     2.1
     Attn: John Melko
     1000 Louisiana St Ste 2000
     Houston, TX 77002-2099

     McCreary Veselka Bragg & Allen                                                                           Line     2.2
     Tara LeDay
     PO Box 1269
     Round Rock, TX 78680

     Richey, Ken                                                                                              Line     2.3
     1910 Justin Lane
     Austin, TX 78757

     Richey, Ken                                                                                              Line     2.4
     1910 Justin Lane
     Austin, TX 78757

     Richey, Ken                                                                                              Line     2.5
     1910 Justin Lane
     Austin, TX 78757

     Richey, Ken                                                                                              Line     2.6
     1910 Justin Lane
     Austin, TX 78757




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                                                    61
Debtor     Earth Energy Renewables, LLC                                                                        Case number (if known)   20-51780
           Name

 Part 1: Additional Page

 2.

2.1 Creditor’s name                                  Describe debtor’s property that is subject to a lien
    ARA EER Holdings, LLC

2.2 Creditor’s name                                  Describe debtor’s property that is subject to a lien
    Brazos County                                    Total Pilot Production Equipment

                                                     16X Commercial Plant equipment

2.3 Creditor’s name                                  Describe debtor’s property that is subject to a lien
    Cobb, John Spencer                               Provisional Patent C

                                                     Real Estate
                                                     6150 Mumford Rd Bryan, TX 77807-2455

                                                     Patent application H - Nonpublication request

                                                     Patent application I - Nonpublication request

                                                     Patent application G

                                                     Brazos Electric

                                                     Estimated value of all intellectual property, including
                                                     patents and design technology

                                                     Technology design package for 16X plant

2.4 Creditor’s name                                  Describe debtor’s property that is subject to a lien
    Cobb, John Spencer

2.5 Creditor’s name                                  Describe debtor’s property that is subject to a lien
    Nalle, Alan                                      Patent application I - Nonpublication request

                                                     Provisional Patent F

                                                     Provisional Patent D

                                                     Provisional Patent B

                                                     Real Estate
                                                     6150 Mumford Rd Bryan, TX 77807-2455

                                                     Brazos Electric

                                                     Estimated value of all intellectual property, including
                                                     patents and design technology

                                                     Technology design package for 16X plant

2.6 Creditor’s name                                  Describe debtor’s property that is subject to a lien
    Nalle, Alan




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                                                      61
 Fill in this information to identify the case:

 Debtor name                           Earth Energy Renewables, LLC

 United States Bankruptcy Court for the:
                                   Western District of Texas

 Case number (if known):                 20-51780
                                                                                                                                          ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑No. Go to Part 2.
        ✔Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
       priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim                    Priority amount

2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is:       $174,309.66                     $174,309.66
       Internal Revenue Service                                Check all that apply.
                                                               ❑ Contingent
       PO Box 7346                                             ❑ Unliquidated
       Philadelphia, PA 19101-7346                             ❑ Disputed
                                                               Basis for the Claim:
       Date or dates debt was incurred
                                                                Payroll taxes
       2Q and 3Q 2019
                                                               Is the claim subject to offset?
       Last 4 digits of account                                ✔ No
                                                               ❑
       number                                                  ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Priority creditor’s name and mailing address            As of the petition filing date, the claim is:
2.2                                                            Check all that apply.
                                                               ❑ Contingent
                                                               ❑ Unliquidated
                                                               ❑ Disputed
                                                               Basis for the claim:
       Date or dates debt was incurred

                                                               Is the claim subject to offset?
       Last 4 digits of account                                ❑ No
       number                                                  ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 16
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                                                     61
Debtor       Earth Energy Renewables, LLC                                                                           Case number (if known)                 20-51780
            Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.   List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.
                                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $15,000.00
       Reihmann, Randy                                                         Check all that apply.
                                                                               ❑ Contingent
       6261 TIDEWATER ISLAND CIR                                               ❑ Unliquidated
                                                                               ❑ Disputed
       Fort Myers, FL 33908
                                                                               Basis for the claim: Convertible Note
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred          10/15/2020                     ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes

3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $5,000.00
       Zahner, Mary                                                            Check all that apply.
                                                                               ❑ Contingent
       1454 260th St                                                           ❑ Unliquidated
                                                                               ❑ Disputed
       Modale, IA 51556-4005
                                                                               Basis for the claim: Convertible Note
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred          10/15/2020                     ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $7,088.50
       Agilent Technologies                                                    Check all that apply.
                                                                               ❑ Contingent
       4187 Collections Ce...                                                  ❑ Unliquidated
                                                                               ❑ Disputed
       Chicago, IL 60693-0001
                                                                               Basis for the claim:
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $2,000.00
3.4                                                                            Check all that apply.
       American Biochemicals
                                                                               ❑ Contingent
       2151 Harvey Mitchell Pkwy S                                             ❑ Unliquidated
                                                                               ❑ Disputed
       College Sta, TX 77840-5281
                                                                               Basis for the claim:
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $750.94
3.5                                                                            Check all that apply.
       Arrow Engineering
                                                                               ❑ Contingent
       260 Pennsylvania Ave                                                    ❑ Unliquidated
                                                                               ❑ Disputed
       Hillside, NJ 07205-2636
                                                                               Basis for the claim:
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number                                         ❑ Yes




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3.6      Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $25,000.00
         BMWK Group LLC                                                     Check all that apply.
                                                                            ❑ Contingent
         Po Box 6713                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Bryan, TX 77805-6713
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.7      Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $100,000.00
         Boone Bank and Trust                                               Check all that apply.
                                                                            ❑ Contingent
         As Custodian of the Mark A. Edelman IRA                            ❑ Unliquidated
                                                                            ❑ Disputed
         716 8th St                                                         Basis for the claim: Convertible Note
         Boone, IA 50036-2705                                               Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred       10/24/2019

         Last 4 digits of account number

3.8      Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $10,000.00
         Borel, James C.                                                    Check all that apply.
                                                                            ❑ Contingent
         6597 Nicholas Blvd Apt 1701                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Naples, FL 34108-7272
                                                                            Basis for the claim: Convertible note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       10/15/2020                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $11,580.80
3.10                                                                        Check all that apply.
         CardmemberVISA
                                                                            ❑ Contingent
         PO Box 79408                                                       ❑ Unliquidated
                                                                            ❑ Disputed
         Saint Louis, MO 63179-0408
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $1,456.51
3.11                                                                        Check all that apply.
         Carl Frampton
                                                                            ❑ Contingent
         3838 Walden Estates Dr                                             ❑ Unliquidated
                                                                            ❑ Disputed
         Montgomery, TX 77356-8917
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.12 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $160,000.00
         Concurrencies                                                      Check all that apply.
                                                                            ❑ Contingent
         Adriaan van Bleijenburgstraat 22                                   ❑ Unliquidated
                                                                            ❑ Disputed
         3311LB Dordrechi
                                                                            Basis for the claim:
         Kingdom of the Netherlands,                                        Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
         Date or dates debt was incurred
                                                                            ❑ Yes
         Last 4 digits of account number

3.13 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $25,000.00
         Craig, David                                                       Check all that apply.
                                                                            ❑ Contingent
         2905 Sylvania Dr                                                   ❑ Unliquidated
                                                                            ❑ Disputed
         Wdm, IA 50266-2148
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       10/15/2020                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

3.14 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $6,320.45
         Dunaway/UDG                                                        Check all that apply.
                                                                            ❑ Contingent
         550 Bailey Ave, Suit...                                            ❑ Unliquidated
                                                                            ❑ Disputed
         Fort Worth, TX 76107
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $5,196.00
3.15                                                                        Check all that apply.
         Dunn Heat Exchangers, Inc
                                                                            ❑ Contingent
         Po Box 644003                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75264-4003
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $380.00
3.16                                                                        Check all that apply.
         Eddie Hare
                                                                            ❑ Contingent
         5855 Foster Rd                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Bryan, TX 77807-9771
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.17 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $51,586.83
         EE-TDF Cleveland LLC                                              Check all that apply.
                                                                           ❑ Contingent
         1400 S Travis Ave                                                 ❑ Unliquidated
                                                                           ❑ Disputed
         Cleveland, TX 77327-8403
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
3.18 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $4,060.40
         Endress + Hauser, Inc                                             Check all that apply.
                                                                           ❑ Contingent
         Dept 78795                                                        ❑ Unliquidated
                                                                           ❑ Disputed
                                                                           Basis for the claim:
         Detroit, MI 48278-0795                                            Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
                                                                           ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.19 Nonpriority creditor’s name and mailing address                       As of the petition filing date, the claim is:               $1,573.00
         Feldman Plumbing Company                                          Check all that apply.
                                                                           ❑ Contingent
         Po Box 9700                                                       ❑ Unliquidated
                                                                           ❑ Disputed
         College Sta, TX 77842-7700
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes
         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $7,320.09
3.20                                                                       Check all that apply.
         First Glendenan Advisors LLC
                                                                           ❑ Contingent
         C/O Andreas Vietor                                                ❑ Unliquidated
                                                                           ❑ Disputed
         5128 Applegate Lane
                                                                           Basis for the claim:
         Dallas, TX 75287                                                  Is the claim subject to offset?
                                                                           ✔ No
                                                                           ❑
         Date or dates debt was incurred
                                                                           ❑ Yes
         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $823.81
3.21                                                                       Check all that apply.
         Frontier
                                                                           ❑ Contingent
         43218 Business Park Dr Ste 103                                    ❑ Unliquidated
                                                                           ❑ Disputed
         Temecula, CA 92590-3601
                                                                           Basis for the claim:
                                                                           Is the claim subject to offset?
         Date or dates debt was incurred                                   ✔ No
                                                                           ❑
         Last 4 digits of account number                                   ❑ Yes




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3.22 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $10,000.00
         Gerstner Trust 12/19/2011, Gerald Lloyd                            Check all that apply.
                                                                            ❑ Contingent
         300 E 10th St                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Frankfort, KS 66427-1243
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       10/15/2020                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

3.23 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $5,000.00
         Global Management Partners                                         Check all that apply.
                                                                            ❑ Contingent
         1701 Directors Boulevard Suite 300                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Austin, TX 78744
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.24 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $19,527.06
         Hamilton Clark Sustainable Cap                                     Check all that apply.
                                                                            ❑ Contingent
         1701 Pennsylvania Avenue NW Suite 200                              ❑ Unliquidated
                                                                            ❑ Disputed
         Washington, DC 20006
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $25,000.00
3.25                                                                        Check all that apply.
         Hemken, Peter
                                                                            ❑ Contingent
         1512 S 45th St                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Wdm, IA 50265-5765
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       10/15/2020                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $40,001.00
3.26                                                                        Check all that apply.
         IOWA COMMUNITY CAPITAL
                                                                            ❑ Contingent
         915 8th St Ste 205                                                 ❑ Unliquidated
                                                                            ❑ Disputed
         Boone, IA 50036-2921
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       12/14/2019                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




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3.27 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $120,000.00
         IOWA COMMUNITY CAPITAL                                              Check all that apply.
                                                                             ❑ Contingent
         915 8th St Ste 205                                                  ❑ Unliquidated
                                                                             ❑ Disputed
         Boone, IA 50036-2921
                                                                             Basis for the claim: Convertible Note
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred        9/8/20                       ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes

3.28 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $153,716.97
         Jeffery Wooley                                                      Check all that apply.
                                                                             ❑ Contingent
         Po Box 2185                                                         ❑ Unliquidated
                                                                             ❑ Disputed
         Canyon Lake, TX 78133-0009
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes
3.29 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $134,156.21
         John Wooley                                                         Check all that apply.
                                                                             ❑ Contingent
         Po Box 684707                                                       ❑ Unliquidated
                                                                             ❑ Disputed
         Austin, TX 78768-4707
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes
         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:               $35,000.00
3.30                                                                         Check all that apply.
         Keresa Plantation SDN BHD
                                                                             ❑ Contingent
         Level 5 Tan Jugah Tower No. 18 Jalan                                ❑ Unliquidated
                                                                             ❑ Disputed
         Tunku Abduk Rahman Kuching                                          Basis for the claim: Convertible Note
         Sarwawak, Malasia,                                                  Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred        10/21/2019

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:               $35,000.00
3.31                                                                         Check all that apply.
         Keresa Plantation SDN BHD
                                                                             ❑ Contingent
         Level 5 Tan Jugah Tower No. 18 Jalan                                ❑ Unliquidated
                                                                             ❑ Disputed
         Tunku Abduk Rahman Kuching                                          Basis for the claim: Convertible Note
         Sarwawak, Malasia,                                                  Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred        10/28/2019

         Last 4 digits of account number




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3.32 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $35,000.00
         Keresa Plantation SDN BHD                                           Check all that apply.
                                                                             ❑ Contingent
         Level 5 Tan Jugah Tower No. 18 Jalan                                ❑ Unliquidated
                                                                             ❑ Disputed
         Tunku Abduk Rahman Kuching                                          Basis for the claim: Convertible Note
         Sarwawak, Malasia,                                                  Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred        11/4/19

         Last 4 digits of account number

3.33 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $35,000.00
         Keresa Plantation SDN BHD                                           Check all that apply.
                                                                             ❑ Contingent
         Level 5 Tan Jugah Tower No. 18 Jalan                                ❑ Unliquidated
                                                                             ❑ Disputed
         Tunku Abduk Rahman Kuching                                          Basis for the claim: Convertible Note
         Sarwawak, Malasia,                                                  Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred        11/11/2019

         Last 4 digits of account number

3.34 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $23,514.00
         Keresa Plantation SDN BHD                                           Check all that apply.
                                                                             ❑ Contingent
         Level 5 Tan Jugah Tower No. 18 Jalan                                ❑ Unliquidated
                                                                             ❑ Disputed
         Tunku Abduk Rahman Kuching                                          Basis for the claim: Convertible Note
         Sarwawak, Malasia,                                                  Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred        11/15/2019

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:               $35,000.00
3.35                                                                         Check all that apply.
         Keresa Plantation SDN BHD
                                                                             ❑ Contingent
         Level 5 Tan Jugah Tower No. 18 Jalan                                ❑ Unliquidated
                                                                             ❑ Disputed
         Tunku Abduk Rahman Kuching                                          Basis for the claim: Convertible Note
         Sarwawak, Malasia,                                                  Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred        11/25/2019

         Last 4 digits of account number

         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:               $35,000.00
3.36                                                                         Check all that apply.
         Keresa Plantation SDN BHD
                                                                             ❑ Contingent
         Level 5 Tan Jugah Tower No. 18 Jalan                                ❑ Unliquidated
                                                                             ❑ Disputed
         Tunku Abduk Rahman Kuching                                          Basis for the claim: Convertible Note
         Sarwawak, Malasia,                                                  Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred        12/17/2019

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3.37 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $35,000.00
         Keresa Plantation SDN BHD                                           Check all that apply.
                                                                             ❑ Contingent
         Level 5 Tan Jugah Tower No. 18 Jalan                                ❑ Unliquidated
                                                                             ❑ Disputed
         Tunku Abduk Rahman Kuching                                          Basis for the claim: Convertible Note
         Sarwawak, Malasia,                                                  Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred        12/23/2019

         Last 4 digits of account number

3.38 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $30,000.00
         Keresa Plantation SDN BHD                                           Check all that apply.
                                                                             ❑ Contingent
         Level 5 Tan Jugah Tower No. 18 Jalan                                ❑ Unliquidated
                                                                             ❑ Disputed
         Tunku Abduk Rahman Kuching                                          Basis for the claim: Convertible Note
         Sarwawak, Malasia,                                                  Is the claim subject to offset?
                                                                             ✔ No
                                                                             ❑
                                                                             ❑ Yes
         Date or dates debt was incurred        1/6/2020

         Last 4 digits of account number

3.39 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:               $25,200.00
         Lipid Technologies LLC                                              Check all that apply.
                                                                             ❑ Contingent
         1600 19th Ave Sw                                                    ❑ Unliquidated
                                                                             ❑ Disputed
         Austin, MN 55912-1778
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes
         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:               $3,410.19
3.40                                                                         Check all that apply.
         Lowes
                                                                             ❑ Contingent
         3255 Freedom Blvd                                                   ❑ Unliquidated
                                                                             ❑ Disputed
         Bryan, TX 77802
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes
         Nonpriority creditor’s name and mailing address                     As of the petition filing date, the claim is:               $2,560.00
3.41                                                                         Check all that apply.
         MCHAM LAW
                                                                             ❑ Contingent
         9414 Anderson Mill Rd                                               ❑ Unliquidated
                                                                             ❑ Disputed
         Austin, TX 78729
                                                                             Basis for the claim:
                                                                             Is the claim subject to offset?
         Date or dates debt was incurred                                     ✔ No
                                                                             ❑
         Last 4 digits of account number                                     ❑ Yes




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3.42 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $28,925.11
         Norton Rose Fulbright                                              Check all that apply.
                                                                            ❑ Contingent
         Po Box 122613                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75312-2613
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.43 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $12,565.40
         O'Keefe IP Counseling                                              Check all that apply.
                                                                            ❑ Contingent
         8127 Mesa Dr. B206-62                                              ❑ Unliquidated
                                                                            ❑ Disputed
         Austin, TX 78759
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.44 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $138,205.00
         Omeara Consulting LLC                                              Check all that apply.
                                                                            ❑ Contingent
         407 Sinclair Ave Se                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Cedar Rapids, IA 52403-1828
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $10,000.00
3.45                                                                        Check all that apply.
         O'Meara, J. Tim
                                                                            ❑ Contingent
         407 Sinclair Ave SE                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Cedar Rapids, IA 52403
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       10/15/2020                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $25,000.00
3.46                                                                        Check all that apply.
         O'Meara, J. Tim
                                                                            ❑ Contingent
         407 Sinclair Ave SE                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Cedar Rapids, IA 52403
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       6/17/2019                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 10 of 16
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Debtor        Earth Energy Renewables, LLC                                                                     Case number (if known)             20-51780
             Name




 Part 2: Additional Page

3.47 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $50,000.00
         O'Meara, J. Tim                                                    Check all that apply.
                                                                            ❑ Contingent
         407 Sinclair Ave SE                                                ❑ Unliquidated
                                                                            ❑ Disputed
         Cedar Rapids, IA 52403
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       7/15/2019                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

3.48 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $10,000.00
         O'Meara, Matt                                                      Check all that apply.
                                                                            ❑ Contingent
         8453 Se 63rd St                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Mercer Island, WA 98040-4924
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       10/15/2020                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

3.49 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $1,202.39
         Praxair                                                            Check all that apply.
                                                                            ❑ Contingent
         Po Box 120812                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75312-0812
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $326.36
3.50                                                                        Check all that apply.
         Puffer Sweiven
                                                                            ❑ Contingent
         Po Box 301124                                                      ❑ Unliquidated
                                                                            ❑ Disputed
         Dallas, TX 75303-1124
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $1,300.00
3.51                                                                        Check all that apply.
         Ramsey, Linda and Larry
                                                                            ❑ Contingent
         1613 Oneida Ave                                                    ❑ Unliquidated
                                                                            ❑ Disputed
         Woodbine, IA 51579-4042
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       10/15/2020                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 11 of 16
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Debtor        Earth Energy Renewables, LLC                                                                     Case number (if known)           20-51780
             Name




 Part 2: Additional Page

3.52 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $110,000.00
                                                                            Check all that apply.
         Robson, Steve
                                                                            ✔ Contingent
                                                                            ❑
         9532 E Riggs Rd                                                    ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
         Sun Lakes, AZ 85248-7463
                                                                            Basis for the claim: Loan
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       11/16/2018                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

3.53 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $150,000.00
                                                                            Check all that apply.
         Robson, Steve
                                                                            ✔ Contingent
                                                                            ❑
         9532 E Riggs Rd                                                    ✔ Unliquidated
                                                                            ❑
                                                                            ✔ Disputed
                                                                            ❑
         Sun Lakes, AZ 85248-7463
                                                                            Basis for the claim: Advance
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ❑ No
         Last 4 digits of account number
                                                                            ✔ Yes
                                                                            ❑
3.54 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $1,080.00
         Saenz                                                              Check all that apply.
                                                                            ❑ Contingent
         9155 White Creek Road                                              ❑ Unliquidated
                                                                            ❑ Disputed
         College Station, TX 77845
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $10,000.00
3.55                                                                        Check all that apply.
         Sauter, James
                                                                            ❑ Contingent
         2401 WHITE EAGLE TR SE                                             ❑ Unliquidated
                                                                            ❑ Disputed
         Cedar Rapids, IA 52403
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       10/15/2020                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $85,220.55
3.56                                                                        Check all that apply.
         S-Con Services Inc
                                                                            ❑ Contingent
         Po Box 394                                                         ❑ Unliquidated
                                                                            ❑ Disputed
         Bryan, TX 77806-0394
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 12 of 16
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Debtor        Earth Energy Renewables, LLC                                                                     Case number (if known)           20-51780
             Name




 Part 2: Additional Page

3.57 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $1,239.46
         Service Tech                                                       Check all that apply.
                                                                            ❑ Contingent
         Po Box 1101                                                        ❑ Unliquidated
                                                                            ❑ Disputed
         Bryan, TX 77806-1101
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.58 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $3,500.00
         Steven Swanson Consulting LLC                                      Check all that apply.
                                                                            ❑ Contingent
         11807 Legend Manor Dr                                              ❑ Unliquidated
                                                                            ❑ Disputed
         Houston, TX 77082-3079
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred                                    ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes
3.59 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:               $25,000.00
         Sun AM Development LLC                                             Check all that apply.
                                                                            ❑ Contingent
         111 S Story St                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Boone, IA 50036-4740
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       9/6/2019                     ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $5,000.00
3.60                                                                        Check all that apply.
         Sun AM Development LLC
                                                                            ❑ Contingent
         111 S Story St                                                     ❑ Unliquidated
                                                                            ❑ Disputed
         Boone, IA 50036-4740
                                                                            Basis for the claim: Convertible Note
                                                                            Is the claim subject to offset?
         Date or dates debt was incurred       10/15/2020                   ✔ No
                                                                            ❑
         Last 4 digits of account number                                    ❑ Yes

         Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:               $57,500.00
3.61                                                                        Check all that apply.
         Texas A & M University
                                                                            ❑ Contingent
         Dept of Chemistry                                                  ❑ Unliquidated
         Fin Mgmt Ops, AR Dept                                              ❑ Disputed
         6000 Tamu                                                          Basis for the claim:
                                                                            Is the claim subject to offset?
         College Sta, TX 77843-0001                                         ✔ No
                                                                            ❑
                                                                            ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 13 of 16
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Debtor        Earth Energy Renewables, LLC                                                                Case number (if known)             20-51780
             Name




 Part 2: Additional Page

3.62 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $639.22
         VWR International LLC                                         Check all that apply.
                                                                       ❑ Contingent
         PO Box 640169                                                 ❑ Unliquidated
                                                                       ❑ Disputed
                                                                       Basis for the claim:
         Pittsburgh, PA 15264-0169                                     Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.63 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $6,192.31
         Williams Scotsman, Inc                                        Check all that apply.
                                                                       ❑ Contingent
         Po Box 91975                                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Chicago, IL 60693-1975
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
3.64 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:               $20,000.00
         Zeep Incorporated                                             Check all that apply.
                                                                       ❑ Contingent
         13505 Galleria Cir Ste W-200                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Austin, TX 78738
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          page 14 of 16
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Debtor       Earth Energy Renewables, LLC                                                                        Case number (if known)               20-51780
             Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
    assignees of claims listed above, and attorneys for unsecured creditors.
   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


         Name and mailing address                                                      On which line in Part 1 or Part 2 is the related            Last 4 digits of
                                                                                       creditor (if any) listed?                                   account number,
                                                                                                                                                   if any

 4.1     McGinnis Lochridge                                                           Line 3.52

         Michael Shaunnessy                                                           ❑ Not listed. Explain
         April Lucas
         600 Congress Ave Ste 2100
         Austin, TX 78701-2986

 4.2     McGinnis Lochridge                                                           Line 3.53

         Michael Shaunnessy                                                           ❑ Not listed. Explain
         April Lucas
         600 Congress Ave Ste 2100
         Austin, TX 78701-2986




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                page 15 of 16
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Debtor       Earth Energy Renewables, LLC                                                             Case number (if known)   20-51780
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 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                      Total of claim amounts



  5a. Total claims from Part 1                                                        5a.              $174,309.66




  5b. Total claims from Part 2                                                        5b.              $2,030,118.56
                                                                                             +

  5c. Total of Parts 1 and 2                                                          5c.              $2,204,428.22
      Lines 5a + 5b = 5c.




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                          page 16 of 16
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                                                     61
 Fill in this information to identify the case:

 Debtor name                           Earth Energy Renewables, LLC

 United States Bankruptcy Court for the:
                                   Western District of Texas

 Case number (if known):                 20-51780                 Chapter    11
                                                                                                                                         ❑Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
       ❑
 2. List all contracts and unexpired leases                                                    State the name and mailing address for all other parties with whom the
                                                                                               debtor has an executory contract or unexpired lease

        State what the contract or lease is       Note Purchase Agreement                      ARA EER Holdings, LLC
2.1     for and the nature of the debtor’s
        interest                                  Contract to be REJECTED                      5300 Memorial Dr. Ste. 500

        State the term remaining                                                               Houston, TX 77077
                                                  0 months
        List the contract number of any
        government contract

        State what the contract or lease is       Three portable buildings                     Mod Space
2.2     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED                       10604 Wallisville Rd

        State the term remaining                                                               Houston, TX 77013-4123
                                                  30 months
        List the contract number of any
        government contract

        State what the contract or lease is       Single Portable Building                     Mod Space
2.3     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED                       10604 Wallisville Rd

        State the term remaining                                                               Houston, TX 77013-4123
                                                  30 months
        List the contract number of any
        government contract

        State what the contract or lease is       Portable Building                            Mod Space
2.4     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED                       10604 Wallisville Rd

        State the term remaining                                                               Houston, TX 77013-4123
                                                  30 months
        List the contract number of any
        government contract

        State what the contract or lease is       Carboxylic Acid License                      Keresa Plantation SDN BHD
2.5     for and the nature of the debtor’s
        interest                                  Contract to be ASSUMED                       Level 5 Tan Jugah Tower No. 18 Jalan

        State the term remaining                                                               Tunku Abduk Rahman Kuching
                                                  321 months
                                                                                               Sarwawak, Malasia,
        List the contract number of any
        government contract




Official Form 206G                                            Schedule G: Executory Contracts and Unexpired Leases                                               page 1 of 2
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Debtor      Earth Energy Renewables, LLC                                                                     Case number (if known)           20-51780
           Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                         debtor has an executory contract or unexpired lease

         State what the contract or lease is   Third Amended Company Agreement            Members of Debtor
2.6      for and the nature of the debtor’s
         interest                              Contract to be ASSUMED
         State the term remaining              100 months
         List the contract number of any
         government contract

         State what the contract or lease is   Modular Building month to month            Willscot
2.7      for and the nature of the debtor’s
         interest                              Contract to be ASSUMED                     14207 W Hardy Rd

         State the term remaining                                                         Houston, TX 77060-4615
                                               1 months
         List the contract number of any
         government contract




Official Form 206G                                        Schedule G: Executory Contracts and Unexpired Leases                                        page 2 of 2
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                                                      61
 Fill in this information to identify the case:

 Debtor name                           Earth Energy Renewables, LLC

 United States Bankruptcy Court for the:
                                   Western District of Texas

 Case number (if known):                 20-51780
                                                                                                                                         ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


  1. Does the debtor have any codebtors?
        ❑No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔Yes
        ❑
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
     D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
     codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                         Column 2: Creditor
                                                                                                                                                     Check all schedules
            Name                                   Mailing Address                                                  Name
                                                                                                                                                     that apply:

  2.1     Jeffery Wooley                          Po Box 2185                                                       Nalle, Alan                        ✔D
                                                                                                                                                       ❑
                                                  Street
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                  Canyon Lake, TX 78133-0009
                                                  City                                  State       ZIP Code
                                                                                                                    Cobb, John Spencer                 ✔D
                                                                                                                                                       ❑
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                                                                                    Nalle, Alan                        ✔D
                                                                                                                                                       ❑
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                                                                                    Cobb, John Spencer                 ✔D
                                                                                                                                                       ❑
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                                                                                    Robson, Steve                      ❑D
                                                                                                                                                       ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G

  2.2     John Wooley                             Po Box 684707                                                     Nalle, Alan                        ✔D
                                                                                                                                                       ❑
                                                  Street
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                  Austin, TX 78768-4707
                                                  City                                  State       ZIP Code
                                                                                                                    Cobb, John Spencer                 ✔D
                                                                                                                                                       ❑
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                                                                                    Nalle, Alan                        ✔D
                                                                                                                                                       ❑
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G


Official Form 206H                                                             Schedule H: Codebtors                                                          page 1 of 2
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Debtor      Earth Energy Renewables, LLC                                                                 Case number (if known)     20-51780
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                  Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                  that apply:

                                                                                                          Cobb, John Spencer       ✔D
                                                                                                                                   ❑
                                                                                                                                   ❑E/F
                                                                                                                                   ❑G

                                                                                                          Robson, Steve            ❑D
                                                                                                                                   ✔E/F
                                                                                                                                   ❑
                                                                                                                                   ❑G



  2.3
                                        Street




                                        City                                   State        ZIP Code




  2.4
                                        Street




                                        City                                   State        ZIP Code




  2.5
                                        Street




                                        City                                   State        ZIP Code




  2.6
                                        Street




                                        City                                   State        ZIP Code




Official Form 206H                                                     Schedule H: Codebtors                                                page 2 of 2
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 Fill in this information to identify the case:

 Debtor name                                           Earth Energy Renewables, LLC

 United States Bankruptcy Court for the:
                                                 Western District of Texas

 Case number (if known):                                  20-51780                               Chapter           11
                                                                                                                                                                                                      ❑Check if this is an
                                                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                             12/15

 Part 1: Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
            Copy line 88 from Schedule A/B........................................................................................................................................                                           $392,745.00


    1b. Total personal property:
            Copy line 91A from Schedule A/B......................................................................................................................................                                         $50,341,621.93

    1c. Total of all property:
            Copy line 92 from Schedule A/B.........................................................................................................................................                                       $50,734,366.93




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                           $3,801,182.16



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                               $174,309.66


    3b. Total amount of claims of non-priority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                             +            $2,030,118.56




 4. Total liabilities..............................................................................................................................................................................                        $6,005,610.38

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                                      Summary of Assets and Liabilities for Non-Individuals                                                                    page 1
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 Fill in this information to identify the case:

 Debtor name                           Earth Energy Renewables, LLC

 United States Bankruptcy Court for the:
                                   Western District of Texas

 Case number (if known):                 20-51780
                                                                                                                                         ❑Check if this is an
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
and case number (if known).



 Part 1: Income


 1. Gross revenue from business

    ❑None
          Identify the beginning and ending dates of the debtor’s fiscal year, which may         Sources of revenue                        Gross revenue
          be a calendar year                                                                      Check all that apply                     (before deductions and
                                                                                                                                           exclusions)

         From the beginning of the                                                               ✔ Operating a business
                                                                                                 ❑                                                                   $0.00
         fiscal year to filing date:              From 01/01/2020
                                                        MM/ DD/ YYYY
                                                                        to    Filing date
                                                                                                 ❑Other

         For prior year:                          From 01/01/2019       to    12/31/2019         ✔ Operating a business
                                                                                                 ❑                                                              $89,059.00
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY      ❑Other

         For the year before that:                From 01/01/2018       to    12/31/2018         ✔ Operating a business
                                                                                                 ❑                                                                   $0.00
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY      ❑Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
    each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    ✔None
    ❑
                                                                                                 Description of sources of revenue         Gross revenue from each
                                                                                                                                           source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the
       fiscal year to filing date:            From 01/01/2020          to    Filing date
                                                       MM/ DD/ YYYY


       For prior year:                        From 01/01/2019          to    12/31/2019
                                                       MM/ DD/ YYYY           MM/ DD/ YYYY


       For the year before that:              From 01/01/2018          to    12/31/2018
                                                       MM/ DD/ YYYY           MM/ DD/ YYYY




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Debtor           Earth Energy Renewables, LLC                                                                          Case number (if known)                  20-51780
               Name



 Part 2: List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing this case unless
    the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to
    cases filed on or after the date of adjustment.)

    ❑None

    Creditor’s name and address                                Dates               Total amount or value              Reasons for payment or transfer
                                                                                                                      Check all that apply


 3.1.    See Attached List                                                                            $1.00           ❑Secured debt
        Creditor's name
                                                                                                                      ❑Unsecured loan repayments
        Street
                                                                                                                      ❑Suppliers or vendors
                                                                                                                      ❑Services
                                                                                                                      ✔Other see attached list
                                                                                                                      ❑
        City                         State      ZIP Code

 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or co-signed by an
    insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3
    years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone
    in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
    any managing agent of the debtor. 11 U.S.C. § 101(31).
    ❑None
    Insider’s name and address                                 Dates               Total amount or value              Reasons for payment or transfer



 4.1.    See Attached List                                                                            $0.00
        Creditor's name


        Street




        City                         State      ZIP Code

         Relationship to debtor



 5. Repossessions, foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
    transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
    ✔None
    ❑
    Creditor’s name and address                                Description of the property                                   Date                      Value of property



 5.1.
        Creditor's name


        Street




        City                         State      ZIP Code



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Debtor           Earth Energy Renewables, LLC                                                                           Case number (if known)                  20-51780
               Name


 6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
    permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
    ✔None
    ❑
    Creditor’s name and address                                Description of the action creditor took                       Date action was            Amount
                                                                                                                             taken


 5.1.
        Creditor's name
                                                                XXXX–
        Street




        City                            State   ZIP Code

 Part 3: Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity
     —within 1 year before filing this case.
    ❑None
 7.1.    Case title                               Nature of case                              Court or agency's name and address                        Status of case

         S-Con Service Inc. vs. Earth             Breach of Contract                         District Court of Brazos County                           ✔Pending
                                                                                                                                                       ❑
                                                                                                                                                       ❑On appeal
         Energy Renewables, Jeffery                                                         Name
         Wooley and John Wooley
                                                                                                                                                       ❑Concluded
                                                                                             300 E 26th St Ste 1200
                                                                                            Street

         Case number
                                                                                             Bryan, TX 77803-5361
         20-000212-CV-272                                                                   City                            State     ZIP Code

 7.2.    Case title                               Nature of case                              Court or agency's name and address                        Status of case

         SC Ventures vs. Earth Energy             Breach of Contract and                     Travis County District Court                              ✔Pending
                                                                                                                                                       ❑
                                                                                                                                                       ❑On appeal
         Renewables, John Wooley and              Application for Receiver                  Name
         Jeff Wooley
                                                                                                                                                       ❑Concluded
                                                                                             PO Box 1748
                                                                                            Street

         Case number
                                                                                             Austin, TX 78767
         D-1-GN-19-003707                                                                   City                            State     ZIP Code

 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian,
    or other court-appointed officer within 1 year before filing this case.
    ✔None
    ❑




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Debtor            Earth Energy Renewables, LLC                                                                          Case number (if known)                20-51780
                Name


 8.1.     Custodian’s name and address                          Description of the property                             Value


         Custodian’s name
                                                                Case title                                              Court name and address
         Street
                                                                                                                       Name

                                                                Case number                                            Street
         City                          State     ZIP Code



                                                                Date of order or assignment                            City                          State     ZIP Code




 Part 4: Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that
    recipient is less than $1,000
    ✔None
    ❑
 9.1.     Recipient’s name and address                          Description of the gifts or contributions                       Dates given          Value


         Recipient’s name


         Street




         City                          State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
        ✔None
        ❑
        Description of the property lost and how the loss          Amount of payments received for the loss                           Date of loss      Value of property
        occurred                                                   If you have received payments to cover the loss, for                                 lost
                                                                   example, from insurance, government compensation, or
                                                                   tort liability, list the total received.
                                                                   List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                   Assets – Real and Personal Property).


 10.1.


 Part 6: Certain Payments or Transfers

 11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
        person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
        ❑None




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Debtor          Earth Energy Renewables, LLC                                                                          Case number (if known)                 20-51780
                Name


 11.1.    Who was paid or who received the transfer?              If not money, describe any property transferred                Dates                 Total amount or
                                                                                                                                                       value

         Lyon, Frank B.                                           Retainer                                                       10/2/2020                       $5,000.00


          Address

         3508 Far West Blvd. Suite 170
         Street


         Austin, TX 78731
         City                        State     ZIP Code


          Email or website address

         Frank@franklyon.com

          Who made the payment, if not debtor?

         Debtor



 11.2.    Who was paid or who received the transfer?              If not money, describe any property transferred                Dates                 Total amount or
                                                                                                                                                       value

         Lyon, Frank B.                                           Retainer                                                       10/19/2020                     $25,000.00


          Address

         3508 Far West Blvd. Suite 170
         Street


         Austin, TX 78731
         City                        State     ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Debtor



 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust
     or similar device.
     Do not include transfers already listed on this statement.
     ✔None
     ❑

 12.1.     Name of trust or device                              Describe any property transferred                              Dates transfers         Total amount or
                                                                                                                               were made               value




           Trustee




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Debtor          Earth Energy Renewables, LLC                                                                       Case number (if known)                20-51780
                Name


 13. Transfers not already listed on this statement
     List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2 years before the
     filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers
     made as security. Do not include gifts or transfers previously listed on this statement.
     ✔None
     ❑

 13.1.    Who received the transfer?                         Description of property transferred or payments                 Date transfer        Total amount or
                                                             received or debts paid in exchange                              was made             value




          Address


         Street




         City                        State     ZIP Code


          Relationship to debtor




 Part 7: Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ✔Does not apply
     ❑
    Address                                                                                                     Dates of occupancy


 14.1.                                                                                                         From                          To
         Street




         City                        State     ZIP Code




 Part 8: Health Care Bankruptcies

 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
      —diagnosing or treating injury, deformity, or disease, or
      —providing any surgical, psychiatric, drug treatment, or obstetric care?
     ✔No. Go to Part 9.
     ❑
     ❑Yes. Fill in the information below.




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Debtor          Earth Energy Renewables, LLC                                                                          Case number (if known)               20-51780
                Name


          Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

 15.1.
         Facility name


         Street                                              Location where patient records are maintained(if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.
         City                       State     ZIP Code                                                                                  Check all that apply:
                                                                                                                                        ❑Electronically
                                                                                                                                        ❑Paper

 Part 9: Personally Identifiable Information


 16. Does the debtor collect and retain personally identifiable information of customers?
     ✔ No.
     ❑
     ❑Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑No
                  ❑Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-sharing plan
     made available by the debtor as an employee benefit?
     ✔No. Go to Part 10.
     ❑
     ❑Yes. Does the debtor serve as plan administrator?
           ❑No. Go to Part 10.
           ❑Yes. Fill in below:
                       Name of plan                                                                      Employer identification number of the plan

                                                                                                         EIN:           –

                       Has the plan been terminated?
                       ❑No
                       ❑Yes

 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or
     transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
     associations, and other financial institutions.
     ❑None
    Financial institution name and address                    Last 4 digits of account       Type of account            Date account was             Last balance
                                                              number                                                    closed, sold, moved,         before closing
                                                                                                                        or transferred               or transfer




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Debtor          Earth Energy Renewables, LLC                                                                              Case number (if known)                  20-51780
                Name



 18.1     IBC Bank                                             XXXX– 3        3    0    6      ✔Checking
                                                                                               ❑                               4/30/2020                  $0.00
                                                                                               ❑Savings
         Name

                                                                                               ❑Money market
          Po Box 659507
          Street
                                                                                               ❑Brokerage
          San Antonio, TX 78265-9507
                                                                                               ❑Other
         City                         State    ZIP Code

 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔None
        ❑
 19.1      Depository institution name and address             Names of anyone with access to it               Description of the contents                   Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑     No
         Name
                                                                                                                                                            ❑     Yes
          Street

                                                               Address

         City                         State    ZIP Code



 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
        business.
        ✔None
        ❑
 20.1      Facility name and address                           Names of anyone with access to it               Description of the contents                   Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑     No
         Name
                                                                                                                                                            ❑     Yes
          Street

                                                               Address

         City                         State    ZIP Code



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
        rented property.
        ✔None
        ❑

    Owner’s name and address                                 Location of the property                        Description of the property                     Value


   Name


   Street




   City                             State     ZIP Code


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Debtor       Earth Energy Renewables, LLC                                                                              Case number (if known)                 20-51780
            Name


 Part 12: Details About Environmental Information



      For the purpose of Part 12, the following definitions apply:
            Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
            affected (air, land, water, or any other medium).
            Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
            or utilized.
            Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
            substance.
      Report all notices, releases, and proceedings known, regardless of when they occurred

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
     Include settlements and orders.
     ✔ No
     ❑
     ❑Yes. Provide details below.

    Case title                                      Court or agency name and address                      Nature of the case                             Status of case

                                                                                                                                                        ❑Pending
    Case number
                                                   Name
                                                                                                                                                        ❑On appeal
                                                                                                                                                        ❑Concluded
                                                   Street




                                                   City                           State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
     ✔ No
     ❑
     ❑Yes. Provide details below.


    Site name and address                           Governmental unit name and address                   Environmental law, if known                     Date of notice


   Name                                            Name


   Street                                          Street




   City                    State    ZIP Code       City                           State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
     ✔ No
     ❑
     ❑Yes. Provide details below.

    Site name and address                           Governmental unit name and address                   Environmental law, if known                     Date of notice


   Name                                            Name


   Street                                          Street




   City                    State    ZIP Code       City                           State   ZIP Code



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Debtor           Earth Energy Renewables, LLC                                                                          Case number (if known)                20-51780
                 Name




 Part 13: Details About the Debtor’s Business or Connections to Any Business



 25. Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information
        even if already listed in the Schedules.
        ✔None
        ❑

           Business name and address                     Describe the nature of the business                     Employer Identification number
                                                                                                                 Do not include Social Security number or ITIN.
 25.1.
                                                                                                                EIN:           –
          Name
                                                                                                                 Dates business existed
          Street
                                                                                                                From                     To



          City                   State   ZIP Code


 26. Books, records, and financial statements

 26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
        ❑None
            Name and address                                                                                       Dates of service

 26a.1.     Carl Frampton                                                                                         From 2012               To Present
           Name
            3838 Walden Estates Dr
           Street



            Montgomery, TX 77356-8917
           City                                               State                     ZIP Code



 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
           financial statement within 2 years before filing this case.
           ❑None
            Name and address                                                                                       Dates of service

 26b.1.     Carl Frampton                                                                                         From 2012               To Present
           Name
            3838 Walden Estates Dr
           Street



            Montgomery, TX 77356-8917
           City                                               State                     ZIP Code



 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ❑None



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Debtor           Earth Energy Renewables, LLC                                                                   Case number (if known)             20-51780
                 Name


            Name and address                                                                                 If any books of account and records are
                                                                                                             unavailable, explain why
 26c.1.
            Carl Frampton
           Name
            3838 Walden Estates Dr
           Street



            Montgomery, TX 77356-8917
           City                                               State                   ZIP Code

            Name and address                                                                                 If any books of account and records are
                                                                                                             unavailable, explain why
 26c.2.
            Jeffery Wooley
           Name
            Po Box 2185
           Street



            Canyon Lake, TX 78133-0009
           City                                               State                   ZIP Code




 26d. Listall financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued
     a financial statement within 2 years before filing this case.
     ❑None
            Name and address

 26d.1.     ARA EER Holdings, LLC
           Name
            5300 Memorial Dr. Ste. 500
           Street



            Houston, TX 77077
           City                                               State                   ZIP Code

 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     ✔ No
     ❑
     ❑Yes. Give the details about the two most recent inventories.

    Name of the person who supervised the taking of the inventory                                Date of          The dollar amount and basis (cost, market, or
                                                                                                 inventory        other basis) of each inventory




           Name and address of the person who has possession of inventory records

 27.1.
          Name


          Street




          City                                        State                ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
     debtor at the time of the filing of this case.

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Debtor          Earth Energy Renewables, LLC                                                                        Case number (if known)                 20-51780
                Name


    Name                               Address                                                      Position and nature of any interest      % of interest, if any


    Jeffery Wooley                    Po Box 2185 Canyon Lake, TX 78133-0009                        Manager, Membership interest             18.06 %

    John Wooley                       Po Box 684707 Austin, TX 78768-4707                           Manager, Membership Interest             18.06 %
 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
     shareholders in control of the debtor who no longer hold these positions?
     ✔ No
     ❑
     ❑Yes. Identify below.
    Name                               Address                                                      Position and nature of any        Period during which
                                                                                                    interest                          position or interest was held



                                                                                                ,                                         From
                                                                                                                                          To

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
     loans, stock redemptions, and options exercised?
     ❑No
     ✔Yes. Identify below.
     ❑
          Name and address of recipient                                            Amount of money or                 Dates                  Reason for providing
                                                                                   description and value of                                  the value
                                                                                   property

 30.1.   See Attached List
         Name


         Street




         City                                      State          ZIP Code


          Relationship to debtor




 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ✔ No
     ❑
     ❑Yes. Identify below.
           Name of the parent corporation                                                              Employer Identification number of the parent corporation

                                                                                                       EIN:            –




 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ No
     ❑
     ❑Yes. Identify below.
           Name of the pension fund                                                                    Employer Identification number of the pension fund

                                                                                                       EIN:            –

 Part 14: Signature and Declaration



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Debtor      Earth Energy Renewables, LLC                                                                            Case number (if known)                20-51780
           Name


      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.


      I declare under penalty of perjury that the foregoing is true and correct.


      Executed on         11/16/2020
                      MM/ DD/ YYYY




           ✘ /s/ Jeff Wooley
               Signature of individual signing on behalf of the debtor



                Position or relationship to debtor
                               Manager



         Printed name                                Jeff Wooley



          Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
           ❑No
           ✔Yes
           ❑




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                               Earth Energy Renewables, LLC

                                  Case No. 20-51780-rbk

                     Attachment for Statement of Financial Affairs #3.1
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Earth Energy Renewables LLC
Payments to Vendors >$6825 total
July 20, 2020 to October 20/2020

        Type      Date      Num                      Name                                          Address                                       Memo                Credit


Bill Pmt -Check 07/21/2020 201753 Dunaway/UDG                             550 Bailey Ave., Suite 400, Fort Worth, TX 76107          Engineering commercial plant    $18,212.00
Bill Pmt -Check 07/21/2020 wire    Loveless Law Group PLLC                4760 Preston Rd, Suite 244-357, Frisco,TX 75034           Legal fees                      $14,045.00
Check           07/22/2020 201754 AssurSteel LLC                          8867 FM1774, Navasota, TX 77868                           Engineering commercial plant     $7,500.00
Check           07/23/2020 wire    Koch Project Solutions                 10300 Toen Park Dr, Suite 4050, Houston, TX 77072         Engineering commercial plant    $10,000.00
Bill Pmt -Check 07/29/2020 Wire    Hamilton Clark Sustainable Cap         1701 Pennsylvania Ae NW, Ste 200 Washington, D.C. 20006   Consulting Fees Financial       $12,500.00
Check           07/31/2020 wire    Koch Project Solutions                 10300 Toen Park Dr, Suite 4050, Houston, TX 77072         Engineering commercial plant    $10,000.00
Bill Pmt -Check 08/03/2020 201781 EE-TDF Cleveland LLC                    1400 S travis Ave, Cleveland, TX 77327                    Consulting Fees Accounting       $7,500.00
Check           08/05/2020 eftps   United States Treasury                                                                           Payroll Taxes                   $14,151.48
Check           08/12/2020 wire    Loveless Law Group PLLC                4760 Preston Rd, Suite 244-357, Frisco,TX 75034           Legal fees                      $13,243.00
Check           08/24/2020 check   Rios Trucking                          7308 New Church Cemetery Rd, Hearne, TX 77859             Civil works Commercial Plant    $25,000.00
Check           08/27/2020 wire    Koch Modular Process Systems           45 Eisenhower Dr, Suite 350, Paramus, NJ 07652            Engineering commercial plant    $20,000.00
Bill Pmt -Check 09/01/2020 201841 EE-TDF Cleveland LLC                    1400 S travis Ave, Cleveland, TX 77327                    Consulting Fees                  $7,500.00
Check           09/03/2020 201848 Rios Trucking                           7308 New Church Cemetery Rd, Hearne, TX 77859             Civil works Commercial Plant    $25,000.00
Check           09/03/2020 eftps   United States Treasury                                                                           Payroll Taxes                   $13,700.26
Check           09/10/2020 wire    Loveless Law Group PLLC                4760 Preston Rd, Suite 244-357, Frisco,TX 75034           Legal fees                      $11,913.00
Check           09/16/2020 eftps   United States Treasury                                                                           Payroll Taxes                   $23,419.46
Check           09/16/2020 eftps   United States Treasury                                                                           Payroll Taxes                    $1,580.54
Check           09/16/2020 eftps   United States Treasury                                                                           Payroll Taxes                   $14,289.34
Check           09/17/2020 wire    Michael Bowers                         366 Wardman Rd, Buffalo, NY 14217                         Consulting Fees                 $16,200.00
Wire            10/02/2020 wire    Frank Lyon                             3508 Far West Blvd, Suite 170, Austin, TX 78731           Legal fees                       $5,000.00
Check           10/02/2020 201918 Texas A & M University Dept of Chemistry Financial Management Ops, AR Department,                 Mark Holtzapple's Research      $10,657.50
                                                                          6000 TAMU, College Station, TX 77843
Bill Pmt -Check 10/19/2020 201944 EE-TDF Cleveland LLC                    1400 S travis Ave, Cleveland, TX 77327                    Consulting Fees                  $7,500.00
Check           10/19/2020 wire    Frank Lyon                             3508 Far West Blvd, Suite 170, Austin, TX 78731           Legal fees                      $25,000.00
Bill Pmt -Check 10/19/2020 201946 Kenneth C Rosco                         16819 Ashbtidge Ct, Spring, TX 77319                      Consulting Fees                  $8,325.00
Bill Pmt -Check 10/19/2020 201947 Michael Bowers                          366 Wardman Rd, Buffalo, NY 14217                         Consulting Fees                 $16,810.30
Check           10/20/2020 eftps   United States Treasury                                                                           Payroll Taxes                   $13,957.26
Check           10/20/2020 EFTPS United States Treasury                                                                             Payroll Taxes                   $12,917.50
Total                                                                                                                                                              $365,921.64
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                               Earth Energy Renewables, LLC

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                Attachment for Statement of Financial Affairs #s 4.1 and 30.1
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Earth Energy Renewables LLC. Insider Payments Year 10/20/2019-10/20/2020

                           Type          Date             Name                      Memo                  Debit        Credit      Jeffery Wooley    John Wooley      Omeara


Shareholder Loan     General Journal   10/22/2019 Jeffery Wooley       Jeff Wooley Advance              $20,000.00
Shareholder Pay Back General Journal   10/23/2019 Jeffery Wooley       Payback short term advance                     $20,000.00
Shareholder Loan     General Journal   12/11/2019 Jeffery Wooley       Jeff Wooley Adavnce short term    $5,000.00
Shareholder Expenses Bill Pmt -Check   01/07/2020 John Wooley          Expenses                                        $1,000.00                          $1,000.00
Shareholder Loan     General Journal   01/15/2020 Jeffery Wooley       Jeff Wooley Transfer              $1,500.00
Shareholder Pay Back General Journal   01/16/2020 Jeffery Wooley       payback Jeff Wooley ST Loan                     $1,500.00
                     Bill Pmt -Check   01/29/2020 Jeffery Wooley       Consulting Comp                                 $8,750.00         $8,750.00
                     Bill Pmt -Check   01/29/2020 John Wooley          Consulting Comp                                 $8,750.00                          $8,750.00
                     Bill Pmt -Check   02/05/2020 Jeffery Wooley       Consulting Comp                                $10,000.00        $10,000.00
                     Bill Pmt -Check   02/12/2020 John Wooley          Consulting Comp                                 $8,750.00                          $8,750.00
Shareholder Loan     General Journal   02/20/2020 Jeffery Wooley       Advance Jeff Wooley              $36,000.00
Shareholder Loan     General Journal   02/20/2020 Jeffery Wooley       Advance Jeff Wooley              $26,000.00
                     Bill Pmt -Check   03/03/2020 Jeffery Wooley       Consulting Comp                                 $8,750.00         $8,750.00
                     Bill Pmt -Check   03/03/2020 John Wooley          Consulting Comp                                 $8,750.00                          $8,750.00
                                       03/06/2020 Omeara Consulting LLC Consulting Comp                               $10,000.00                                       $10,000.00
                     Bill Pmt -Check   03/10/2020 Jeffery Wooley       Consulting Comp                                 $8,750.00         $8,750.00
                     Bill Pmt -Check   03/17/2020 John Wooley          Consulting Comp                                $17,000.00                         $17,000.00
                                       03/25/2020 Omeara Consulting LLC Consulting Comp                                $5,000.00                                        $5,000.00
                     Bill Pmt -Check   03/25/2020 Jeffery Wooley       Consulting Comp                                 $8,750.00         $8,750.00
                     Bill Pmt -Check   04/03/2020 Jeffery Wooley       Consulting Comp                                 $9,750.00         $9,750.00
                     Bill Pmt -Check   04/03/2020 John Wooley          Consulting Comp                                 $8,750.00                          $8,750.00
                     Bill Pmt -Check   04/08/2020 John Wooley          Expenses                                        $2,628.76                          $2,628.76
                     Bill Pmt -Check   04/16/2020 Jeffery Wooley       Consulting Comp                                $17,500.00        $17,500.00
                     Bill Pmt -Check   04/20/2020 John Wooley          Consulting Comp                                $17,500.00                         $17,500.00
Shareholder Pay Back Check             04/28/2020 Jeffery Wooley       Payback short term advance                     $39,145.32
                     Bill Pmt -Check   04/28/2020 Jeffery Wooley       Consulting Comp and Expenses                   $12,961.21        $12,961.21
                     Bill Pmt -Check   04/28/2020 John Wooley          Consulting Comp and Expenses                   $12,961.20                         $12,961.20
                     Bill Pmt -Check   05/19/2020 Omeara Consulting LLC Consulting Comp                               $10,000.00                                       $10,000.00
                     Bill Pmt -Check   05/28/2020 Jeffery Wooley       Consulting Comp                                $17,500.00        $17,500.00
                     Bill Pmt -Check   06/16/2020 John Wooley          Consulting Comp                                $17,500.50                         $17,500.50
                     Bill Pmt -Check   07/01/2020 Jeffery Wooley       Consulting Comp                                $17,500.00        $17,500.00
                     Bill Pmt -Check   07/15/2020 Omeara Consulting LLC Consulting Comp                               $20,000.00                                       $20,000.00
                     Bill Pmt -Check   07/17/2020 Jeffery Wooley       Consulting Comp                                $17,500.00        $17,500.00
                     Bill Pmt -Check   07/17/2020 John Wooley          Consulting Comp                                $17,500.00                         $17,500.00
                     General Journal   07/20/2020 Omeara Consulting LLC Consulting Comp                 $10,000.00
                     Bill Pmt -Check   08/12/2020 Jeffery Wooley       Consulting Comp                                $17,500.00        $17,500.00
                     Bill Pmt -Check   08/21/2020 John Wooley          Consulting Comp                                $17,500.00                         $17,500.00
                     Check             08/24/2020 Omeara Consulting LLC Consulting Comp                                $5,000.00                                        $5,000.00
                     Bill Pmt -Check   09/14/2020 Jeffery Wooley       Consulting Comp                                $17,500.00        $17,500.00
                     Bill Pmt -Check   09/17/2020 John Wooley          Consulting Comp                                 $8,750.00                          $8,750.00
                     Bill Pmt -Check   10/16/2020 Jeffery Wooley       Consulting Comp                                 $3,000.00         $3,000.00
                     Check             10/19/2020 Omeara Consulting LLC Consulting Comp                                $5,000.00                                        $5,000.00
                     Bill Pmt -Check   10/19/2020 Jeffery Wooley       Consulting Comp                                 $5,750.00         $5,750.00
                     Bill Pmt -Check   10/19/2020 John Wooley          Consulting Comp                                 $8,750.00                          $8,750.00
                     Bill Pmt -Check   10/19/2020 John Wooley          Consulting Comp                                 $8,750.00                          $8,750.00
                                                                                                        $98,500.00   $461,946.99
Total                                                                                                   $98,500.00   $461,946.99       $181,461.21      $164,840.46    $55,000.00
